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                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE


      In re:                                                     Chapter 7

      THE UNIVERSITY OF THE ARTS, et al., 1                      Case No. 24-12140 (BLS)

                       Debtors.                                  (Jointly Administered)




                   NOTICE OF AGENDA OF MATTERS SCHEDULED FOR
                HEARING ON JANUARY 15, 2025, AT 1:30 P.M. (EASTERN TIME)



         THIS PROCEEDING WILL BE CONDUCTED IN-PERSON AND VIA ZOOM. ALL COUNSEL AND
      WITNESSES ARE EXPECTED TO ATTEND UNLESS PERMITTED TO APPEAR REMOTELY VIA ZOOM.
       PLEASE REFER TO JUDGE SHANNON’S CHAMBERS PROCEDURES AND THE COURT’S WEBSITE
      (HTTP://WWW.DEB.USCOURTS.GOV/ECOURT-APPEARANCES) FOR INFORMATION ON WHO MAY
        PARTICIPATE REMOTELY, THE METHOD OF ALLOWED PARTICIPATION (VIDEO OR AUDIO),
           JUDGE SHANNON’S EXPECTATIONS OF REMOTE PARTICIPANTS, AND THE ADVANCE
       REGISTRATION REQUIREMENTS. REGISTRATION IS REQUIRED BY 4:00 P.M. (EASTERN TIME)
       THE BUSINESS DAY BEFORE THE HEARING UNLESS OTHERWISE NOTICED USING THE ECOURT
                     APPEARANCES TOOL AVAILABLE ON THE COURT’S WEBSITE.


I.      MATTER(S) GOING FORWARD:

        1.       Motion of the Chapter 7 Trustee for Entry of an Order (I) Authorizing and Approving
                 the Sale of Certain Real Property and Related Assets Located at 251 S. 18th Street,
                 Philadelphia, PA (Arts Alliance Building) Free and Clear of All Liens, Claims,
                 Encumbrances and Other Interests and (II) Granting Other Related Relief, filed on
                 January 8, 2025 [Docket No. 141].

                 Objection Deadline:             January 14, 2025, at 12:00 p.m. (Eastern Time).

                 Responses Received:

               i.         Commonwealth of Pennsylvania’s Limited Objection to Motion of the Chapter
                          7 Trustee for Entry of an Order (I) Authorizing and Approving the Sale of
                          Certain Real Property and Related Assets Located at 251 S. 18th Street,
                          Philadelphia, PA (Arts Alliance Building) Free and Clear of All Liens, Claims,

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        The debtors in these cases, along with the last four digits of the federal tax identification number for each of the
        debtors, where applicable are: The University of the Arts (9911); and U of Arts Finance, LLC (9911).
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                          Encumbrances and Other Interests and (II) Granting Other Related Relief, filed
                          on January 13, 2025 [Docket No. 159].

                Related Pleadings:

                A.        Motion to Shorten Time for Notice and Response to: Motion of the Chapter 7
                          Trustee for Entry of an Order (I) Authorizing and Approving the Sale of Certain
                          Real Property and Related Assets Located at 251 S. 18th Street, Philadelphia,
                          PA (Arts Alliance Building) Free and Clear of All Liens, Claims,
                          Encumbrances and Other Interests and (II) Granting Other Related Relief, filed
                          on January 8, 2025 [Docket No. 142].

                B.        Notice of Stalking Horse Agreement and Proposed Break-Up Fee Protections
                          (“Stalking Horse Notice”), filed on January 8, 2025 [Docket No. 143].

                C.        Order Granting Motion to Shorten Time for Notice and Response to: Motion of
                          the Chapter 7 Trustee for Entry of an Order (I) Authorizing and Approving the
                          Sale of Certain Real Property and Related Assets Located at 251 S. 18th Street,
                          Philadelphia, PA (Arts Alliance Building) Free and Clear of All Liens, Claims,
                          Encumbrances and Other Interests and (II) Granting Other Related Relief,
                          entered on January 8, 2025 [Docket No. 144].

                D.        Notice of Sale Hearing Regarding Real Estate at 251 S. 18th Street,
                          Philadelphia, PA (Arts Alliance Building), filed on January 8, 2025 [Docket
                          No. 145].

                E.        Certificate of Service, filed on January 9, 2025 [Docket No. 153].

           Status: This matter will go forward.

     2.         Motion of the Chapter 7 Trustee for Entry of an Order (I) Authorizing and Approving
                the Sale of Certain Real Property and Related Assets Located at 601 South Broad
                Street, Philadelphia, PA (Arts Bank Building) Free and Clear of All Liens, Claims,
                Encumbrances and Other Interests and (II) Granting Other Related, filed on January 9,
                2025 [Docket No. 146].

                Objection Deadline:         January 14, 2025, at 12:00 p.m. (Eastern Time).

                Responses Received:         None to Date.

                Related Pleadings:

                A.        Motion to Shorten Time for Notice and Response to: Motion of the Chapter 7
                          Trustee for Entry of an Order (I) Authorizing and Approving the Sale of Certain
                          Real Property and Related Assets Located at 601 South Broad Street,
                          Philadelphia, PA (Arts Bank Building) Free and Clear of All Liens, Claims,
                          Encumbrances and Other Interests and (II) Granting Other Related Relief, filed
                          on January 9, 2025 [Docket No. 147].


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                B.        Notice of Stalking Horse Agreement and Proposed Break-Up Fee Protections
                          (“Stalking Horse Notice”), filed on January 9, 2025 [Docket No. 148].

                C.        Order Granting Motion to Shorten Time for Notice and Response to: Motion of
                          the Chapter 7 Trustee for Entry of an Order (I) Authorizing and Approving the
                          Sale of Certain Real Property and Related Assets Located at 601 South Broad
                          Street, Philadelphia, PA (Arts Bank Building) Free and Clear of All Liens,
                          Claims, Encumbrances and Other Interests and (II) Granting Other Related,
                          entered on January 9, 2025 [Docket No. 149].

                D.        Notice of Sale Hearing Regarding Real Estate at 601 S. Broad Street,
                          Philadelphia, PA (Arts Bank Building), filed on January 9, 2025 [Docket No.
                          150].

                E.        Certificate of Service, filed on January 10, 2025 [Docket No. 154].

           Status: This matter will go forward.

Dated: January 13, 2025                          CHIPMAN BROWN CICERO & COLE, LLP
       Wilmington, Delaware

                                                  /s/ David W. Carickhoff
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